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                8                    UNITED STATES DISTRICT COURT
                9                  CENTRAL DISTRICT OF CALIFORNIA
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               11 ACTIVISION PUBLISHING, INC., a         CASE NO. CV 12-8964-GW(JEMx)
                  Delaware Corporation,
               12                                        Hon. George H. Wu
                              Plaintiff,
               13                                        ORDER GRANTING
                        v.                               PERMANENT INJUNCTION AND
               14                                        DISMISSING WITH PREJUDICE
                  ACTIVISION TV, INC., a Delaware
               15 Corporation; AD MEDIA DISPLAYS,
                  INC., a Wyoming Corporation; DAVID
               16 GOTHARD, an individual,
               17            Defendants.
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  Mitchell     28
Silberberg &
 Knupp LLP
                                [PROPOSED] ORDER GRANTING PERMANENT INJUNCTION
                                         AND DISMISSING WITH PREJUDICE
        Case 2:12-cv-08964-GW-JEM Document 111 Filed 10/01/13 Page 2 of 4 Page ID #:3911



               1        Plaintiff Activision Publishing, Inc. (“Activision”) and Defendants
               2 Activision TV, Inc., Ad Media Displays, Inc., and David Gothard (collectively
               3 “ATV”) having entered into a Stipulation for Entry of Permanent Injunction and
               4 Order Dismissing With Prejudice, pursuant to a settlement agreement executed
               5 September 27, 2013, (the “Agreement”), and good cause appearing therefor,
               6
               7        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
               8
               9 1.     ATV and all persons acting under ATV’s direction or control (including but
               10       not limited to Defendant’s agents, representatives and employees), are
               11       permanently enjoined and shall cease and desist from:
               12
               13       A.    Any use of the terms “ACTIVISION,” “ACTIVISION.TV,”
               14             “ACTIVISIONTV,” “ACTIVISION TV,” “ACTIVISION SYSTEM,”
               15             “ACTIVISION TELEVISION”, or any other confusingly mark
               16             containing the word “ACTIVISION” or a confusingly similar word or
               17             phrase (the “Prohibited Marks”), whether alone or as part of a
               18             composite mark, in connection with any product or service, including
               19             but not limited to any digital signage system, digital media display,
               20             digital television product, computer system or television, set-top box,
               21             or on-demand media system, or advertising service, whether for use in
               22             hotels, airlines, retail stores, or any other market;
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               24       B.    Any advertising or promoting of ATV or its products or services using
               25             any of the Prohibited Marks; and
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  Mitchell     28
Silberberg &
 Knupp LLP
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                                 [PROPOSED] ORDER GRANTING PERMANENT INJUNCTION
                                          AND DISMISSING WITH PREJUDICE
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               1         C.    Any use of the corporate or business name “Activision TV, Inc.” or
               2               any corporate or business name that contains the word ACTIVISION
               3               or any of the Prohibited Marks.
               4
               5 2.      This Permanent Injunction shall be deemed to have been served upon ATV
               6         at the time of its execution and entry by the Court.
               7
               8 3.      The Court finds there is no just reason for delay in entering this Permanent
               9         Injunction and, pursuant to Federal Rule of Civil Procedure 54(a), the Court
               10        directs immediate entry of this Permanent Injunction against ATV.
               11
               12 4.     In recognition of the extent of the obligations imposed on ATV by this
               13        Permanent Injunction, and as called for by the terms of the Agreement, the
               14        Court directs that ATV shall have 120 days from the date of the full
               15        execution of the Agreement to comply with paragraph 1 of this Permanent
               16        Injunction.
               17
                    5.   All claims against ATV are dismissed with prejudice pursuant to Federal
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                         Rule of Civil Procedure 41(a).
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                    6.   Each party shall bear its own costs and fees.
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               22
                    7.   The Court shall retain jurisdiction of this action to entertain such further
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                         proceedings and to enter such further orders as may be necessary or
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                         appropriate to implement and enforce the provisions of (1) the Agreement,
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                                  [PROPOSED] ORDER GRANTING PERMANENT INJUNCTION
                                           AND DISMISSING WITH PREJUDICE
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               1         and (2) this Judgment and Permanent Injunction.
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               3         IT IS SO ORDERED.
               4
                    DATED: October 1, 2013              By:
               5                                              Hon. George H. Wu
               6                                              United States District Judge

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Silberberg &
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                                  [PROPOSED] ORDER GRANTING PERMANENT INJUNCTION
                                           AND DISMISSING WITH PREJUDICE
